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                                                                              U.S. Deparlmcnt of Justice

                                                                              Criminal Division


                                                                              Wasfl//1gto11,J)C 20530   ,

                                                                              December 12, 2018

             Eric Snyder
             Jones Day
             WaYhington Office
             51 Louisiana Ave. NW
             Washington, DC 20001
             esnyder@jonesday.com


                            Re: Jose Conceicao Santos Filho

             Dear Cou~el:
                      On the understandings specified below, the United States Department of Justice, Criminal                            I
              Division, Fraud Section and Money Laundering and Asset Recovery Section and tho United States
              Attomoy's Offices for the Eastern District of New York and for the Southern District of Florida
              (collectively, the·"Government") will not criminally prosecute Jose Conceicao Santos Filho ("Mr.
              Conceicao") for any conduct related to his participation iri corruption at Odebrecht S.A., its
                                                                                                                                          I
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            · subsidiaries or affiliated entities (collectively, ."Odebreoht") because, among other.reasons, Mr.
              Conceica.o has agreed to guilty in Brazil for the same conduct.                                    ·                        I
                    This Agreement is premised on several conditions:                                                                     l
             (1)       Mr. Conceicao will truthfully and comple~lydisolose all information with respect to the
             aotivitie11 of hitnself and others concerning all matters ab~ut which the Government inquires of                             I
             him, which information can be used for any purpose.
                                                                                                                                          Il
              (2)     Mr. Conceicao will cooperate fully wlth the Government, the Federal Bureau of
            · Inv~tigation, and an.y other oriminal or civil law enforcement agency, in the United States or a
              foreign jurisdiction, designated by the Gov1miment, prov:ided.that such other agency agrees to be
              bound by this agreement Further, atiy meeting with the foreign jurisdiction will occur in tho
              United States, or at a mutually agreed upon location. Mr. Conceicao agrees that he shall cooperate
              fully with the.Government by: ·                    ·

                    (a)     providing truthful and complete information and testimony, and producing
                            documents, records and other evidence, when called upon by the Government,
                            whether in interviews, before a grand jury, or at any trial or other court proceeding;


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                     (b)     : appearing at such grand jury proceedings, hearings, trials, and other judicial
                              proceedings1 and at meetings, as may be required by the Government~ and

                     (t) ,   if requested by the Government, workJrtg in an undercover role to· contact and
                             negotiate with others suspected nnd believed to be involved in criminal misconduct,
                             under the super:vlsiori of, and ih compliance with. law ·enforcement ·officers and
                             agent~.

              (3)     Mr. Conceicao will not disclose his cooperation to anyone without the express pennission
              of the rnivonunent.

             (4)     Mr. Cpnceicao will provide to the Government upon request, any document, record,
             electronic data, or other tangible evidenei: relating to matters about which the Ooverrunent or any
             designated criminal or civil law enforcement agency inquires of.him, wherever such item may be
             located.

             (5)     Mr. Conceicao will bring to   the G~vemment's attention all criln.e~ that he has committed
             under the Jaws of any juris-dictlCJn, and all administrative, civil or criminal proceedings,
             investigations; or pr<lsccutlons in which he has been oris a s\}hjoot, tar~et, party, or witness. ·

             · (6)     Mr. Conceicao will commit no crimes whatsoever, under the laws of any Jurisdiction.
               Moreover, any assistance Mr. Cono~lcao ruay provide to Unityei States federal crltni.n.al
               investigators shall be pursuant .to the specific instructions and control of the Government and
               designated United Stutes investigators.

              (7)      Mr, Conceicao agrees thnt the Govomtncnt may meet with and debrief him without the
              presence of counsel, unles·s Mr. Conceicao specifically reque.qts co1µ1sel's presence at such
              debriefings and meetings. Upon request of Mr. Conceicao, the Government wlll endeavor to
              provide advance notice to ·counsel of the place and time of meetings !Uld debriefings, it being
              understood that the Govornmont's ability to provide such. .notic·e wlll vaty according to time
              constraints and other circumstances, Tho Government may accommodate requests fo alter tho time
              and place of such debriefings. 1t is understood, however, that auy cancellations or reschedulings
              of debriefings or meetings requested by Mr. Conceicao fuat hinder. the Government's ability to
              prepare adequately for trials, hearings or other proceedings may adversely affect Mr. Conocicao's
            · ability to cooperate fully with the Government. Matters occurring at lilly meeting or debriefing
              may be· considered by the Goveniment in detennlning whether Mr: Conceicao hes complied with
              thiA agreement                         . .                                                      ·

                    It is understood that, should Mr. Conceloao viofate any oftbe conditions of this agreement,
             listed above, Mr. Conceicll{l shall thereafter be subject to prosecution in the United States·for any
             federal criminal violation ofwhioh the Government has knowledge. Any such prosecution that is
             not time-barred by the applicable statute oflimitations on the date of the signing of this Agreement
             may be commenced, against Mr. Conceicao, notwitb~tanding the expiration of the statnte of
             limitations between the signing of this Agreement and the commencement of such prosecution. It
             is the intent of this Agreement to waive; aU defenses based on the statute of limitations with resp(}ct
                                                                                                                 1
             to any prosecution that is not time-barred on the date that this Agreement is signed,

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                             It Is further understood that, should Mr. Conceicao violate any of the conditions of this
                    Agreement, listed above, (a) all stateinents made by Mr. Conceicao to the Government or other
                    designated ln.w enforcement agents, and any testimony given by Mt. Conceicao before· 11 grand
                    jury or other tribunal, whether prior to or IIUbSequent to the signing of this Agreement, and any
                    leads fro.m such statements or"testimony sliall bt>admissible in evidence in any criminal proceeding
                    brought agaiiist·Mr. Conceicao; and (b) Mr. Conceicao shall assert no claim under the United
                    S"tates Constitution, any statute, Rule 410 of~ Federal Rules of Evidence, or-any other federal
                    rule that such statements or any leads therefrom should be suppressed. It is the fotcnt of th.is
                    Agreement to waive all rights in the foregoing respects.

                           Mr. Conceicao further agrees to waive nny objection to venue in the event of any such
                    prosecution and specifically agrees not to contest venue, without limitation, in the BasterJJ. Distriot
                    ofNewYork.

                            It i!l further- understood that this Agreement does not bind any United States feqeral, Htate
                    or local prosecuting authority other ihan the Govcmroen.t, nor does it bind any foreign authority.
                    The dovel1Ullent will, however, bring the cooperation of Mr. Conceicao to the attention of other
                    prQ"secntlng offices, both in the United Stilt~ nnd for.elgn Jurisdictions, if requested by Mr.
                    Conceicao. If the Government receives a ruquest from any loc11I, 8late, federal or foreign lnw
                    enforceJnent office or prosecutor's office for access to statements made by Mr. Conceicao, the
                    Govemmentmay furnisli such infonnation, but will do so only on the condition that the requesting
                    office honor the provisions of this agreement

                            With respect to this matter, this Agreement supersedes all prior, if any, understandings,
                    promises and/or·condition:r between the Government and Mr. Conceicao. No addjtional promises,
                    agreements, or conditions have been entered into other than those set forth in this letter and none
                    will be entered into unless in writing and signed by all parties.

                                                                   Sincerely,
                                                                                                                '·
                    SANDRA :M:OSBR
                    ACTING CHIEF
                    DEPARTMENT OF JUSTICE
                    CRIMINAL DIVISION
                    FRAUD. SECTION



                  ~~By: Lorinda Laryea                             Date
                    David Fuhr
                    Katherine Raut
t·                  Trial Attorneys
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              DEBOMH CONNOR
              CHIEF
              DEPARTMENT OF JUST[CB
              CRIMINAL DIVISION
              MONEY LAUNDERING AND
              ASSET RECOVERY SECTrON

               If~,!~
             By: Randall Warden .              Date
             MatyAnn McCarthy
             Trial Attorneys



             RICHARD .P. DONOGHUE
             UNITED STATES ATI'ORNEY
             EAST         TRICT OF NEW YOIU(



                                               Date /   /




             ARIANA FAJARDO ORSHAN
             UNITED STATES ATTORNEY
             SO         DI          FLORIDA




             AGREED AND CONSENTED TO:




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               '- Er c Sny er                                       Date
                Attomeyfor
                Jose Conceicao Santos Filho




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